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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


                            SHERO                              )
                             Plaintiff                         )
                                v.                             )      Case No.     1:24-cv-00148
                          SANDERS                              )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          FLOOK                                                                                                        .


Date:          02/28/2024                                                              /s/ Ernesto H. Molina
                                                                                         Attorney’s signature


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